       Case 1:19-cv-00622-CCC Document 117 Filed 10/20/22 Page 1 of 6




              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

THE PUBLIC INTEREST LEGAL                    :
FOUNDATION,                                  :
                                             :
                   Plaintiff,                :
                                             :
      v.                                     :     NO. 1:19-CV-622
                                             :
LEIGH M. CHAPMAN, Acting                     :     JUDGE CONNER
Secretary of the Commonwealth of             :
Pennsylvania, and JONATHAN M.                :     ELECTRONICALLY FILED
MARKS, Deputy Secretary for                  :
Elections and Commissions,                   :
                                             :
                   Defendants.               :

           MOTION FOR EXTENSION OF BRIEFING DEADLINES

      Defendants Leigh M. Chapman, Acting Secretary of the Commonwealth of

Pennsylvania, and Jonathan M. Marks, Deputy Secretary for Elections and

Commissions, by and through their undersigned counsel, hereby move for an

extension of the briefing deadlines on pending motions set by the Order of Court

dated October 7, 2022 (ECF 116) and, in support thereof, aver as follows:

      1.     Following a good faith but unsuccessful mediation process, on joint

motion of the parties, the Court entered an Order on October 7, 2022 resetting the

briefing deadlines on the various pending and/or anticipated motions which had

been stayed to allow for mediation.
       Case 1:19-cv-00622-CCC Document 117 Filed 10/20/22 Page 2 of 6




      2.     The revised briefing deadlines incorporated into the October 7, 2022

Order were proposed jointly by the parties based upon Defendants’ commitment to

supplement its production of information to Plaintiff informed by both the

mediation process and the Court’s Memorandum and Order dated March 31, 2022

(ECF 83, 84).

      3.     Due to preparations for the upcoming election and other emergency

election matters, including expedited litigation relating to the election, Defendants

need additional time to assemble and produce the supplemental information in

advance of the new briefing deadlines.

      4.     Among other things, information technology specialists at the

Department of State who support and assist counsel with the identification and

collection of information have conflicting responsibilities preparing voting systems

and processes for the fast-approaching general election.

      5.     Further, given the privacy and personal interests of individual

registrants implicated by the supplemental production, it is critically important to

devote appropriate care and resources to prepare the supplemental production.

      6.     In light of the need for additional time to make the supplemental

production, and in order to allow for Plaintiff’s review of the information prior to

the additional briefing, Defendants hereby request an enlargement of the briefing

deadlines in the October 7, 2022 Order as follows:


                                          2
       Case 1:19-cv-00622-CCC Document 117 Filed 10/20/22 Page 3 of 6




            November 18, 2022 – Deadline for Defendants to file reply brief in
             support of Defendants’ Motion for Clarification and Partial
             Reconsideration (ECF 88).

            November 18, 2022 – Deadline for Plaintiff to file brief in opposition
             to Defendants’ Motion To Alter or Amend Judgment Pursuant to Fed.
             R. Civ. P. 59(e) (ECF 91).

            December 6, 2022 – Deadline for Defendants to file reply brief in
             support of Defendants’ Motion To Alter or Amend Judgment Pursuant
             to Fed. R. Civ. P. 59(e) (ECF 91).

            December 16, 2022 – Deadline to file motions for attorneys’ fees,
             costs and expenses pursuant to 52 U.S.C. § 20510(c) (ECF 87).

            January 16, 2023 – Deadline to file opposition briefs in response to
             motions for attorneys’ fees, costs and expenses pursuant to 52 U.S.C.
             § 20510(c) (ECF 87).

            February 10, 2023 – Deadline to file reply briefs in support of
             motions for attorneys’ fees, costs and expenses pursuant to 52 U.S.C.
             § 20510(c) (ECF 87).

      7.      Granting this request will serve the interests of justice by allowing

Defendants sufficient time to assemble, review and produce supplemental

materials prior to the parties expending time and resources addressing issues that

may be impacted and narrowed by the supplemental production.




                                           3
       Case 1:19-cv-00622-CCC Document 117 Filed 10/20/22 Page 4 of 6




      WHEREFORE, Defendants respectfully request that the Court enter an

Order extending the briefing schedule in this matter to allow for the supplemental

production of information prior to the deadline to submit additional briefs.

                                       Respectfully submitted,

                                       /s/ Donna A. Walsh
                                       Daniel T. Brier
                                       Donna A. Walsh
                                       Suzanne P. Conaboy

                                       Counsel for Defendants,
                                       Acting Secretary of the Commonwealth
                                       Leigh M. Chapman and Deputy Secretary
                                       for Elections and Commissions Jonathan M.
                                       Marks

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Dated: October 20, 2022




                                          4
       Case 1:19-cv-00622-CCC Document 117 Filed 10/20/22 Page 5 of 6




                 CERTIFICATE OF NON-CONCURRENCE

      I hereby certify that I sought the concurrence of counsel for Plaintiff, Linda

A. Kerns, Esquire, in this motion. Ms. Kerns does not concur in this motion.

                                             /s/ Donna A. Walsh
                                             Donna A. Walsh

Date: October 20, 2022
       Case 1:19-cv-00622-CCC Document 117 Filed 10/20/22 Page 6 of 6




                      CERTIFICATE OF SERVICE

      I, Donna A. Walsh, hereby certify that a true and correct copy of the

foregoing Motion for Extension of Briefing Deadlines was served upon the

following counsel of record via the Court’s ECF system on this 20th day of

October 2022:

                         Kaylan Phillips, Esquire
                         Noel H. Johnson, Esquire
                         Public Interest Legal Foundation
                         32E Washington Street, Suite 1675
                         Indianapolis, IN 46204

                         Linda A. Kerns, Esquire
                         Law Offices of Linda A. Kerns, LLC
                         1420 Locust Street, Suite 200
                         Philadelphia, PA 19102

                                                   /s/ Donna A. Walsh
                                                   Donna A. Walsh
